                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                 Case No. 06-CR-140

ARTIS ECHOLES
                     Defendant.


                                   DECISION AND ORDER

       Defendant Artis Echoles seeks early termination of probation. See 18 U.S.C. § 3564(c).

The government objects. I first set forth the background of the case, then evaluate the merits

of defendant’s request.

                                       I. BACKGROUND

       Defendant pleaded guilty to distributing heroin, contrary to 21 U.S.C. §§ 841(a)(1) &

(b)(1)(C), and at his sentencing I adopted an advisory guideline range of 51-63 months

imprisonment. I then granted the government’s U.S.S.G. § 5K1.1 motion, departing 7 levels,

producing a revised range of 24-30 months. United States v. Echoles, No. 06-CR-140, 2008

WL 725191, at *1-2 (E.D. Wis. Mar. 17, 2008). Finally, on consideration of the factors set forth

in 18 U.S.C. § 3553(a), I decided to place defendant on probation for five years.

       In imposing this sentence, I first noted that defendant’s role in the offense was mitigated;

he obtained heroin primarily to support his own habit, then distributed some of it to others,

including his wife, also an addict. He did not profit economically. Id. at *3. I further noted that

while defendant had a serious prior record and significant substance abuse problems, he had

since his arrest in the case effected a remarkable turn-around. After a lifetime of drug abuse,



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he had remained clean for nearly two years, participating in counseling. He also consistently

worked for the first time in his life, holding a job as a machine operator for about a year and a

half. Finally, I noted that defendant’s wife, who also experienced substance abuse problems,

had also made great strides in overcoming them. Id. Given these circumstances, I concluded

that defendant deserved a chance to continue the progress he had made; sending him to

prison seemed counterproductive, so I therefore imposed a sentence served in the community.

Id. In a written sentencing memorandum, I concluded:

       The offense was no doubt serious; heroin causes a tremendous amount of
       damage to the community. However, defendant’s role in this particular offense
       was quite limited and motivated by his own addiction; he earned no profit.
       Therefore, I concluded that confinement in prison was not necessary to provide
       just punishment for defendant’s particular conduct. See 18 U.S.C. §
       3553(a)(2)(A).

       Defendant’s record suggested a risk of recidivism, but given the remarkable
       progress he had made over the past two years – staying off drugs, steadily
       working, starting a new family – I found that risk greatly reduced. If he continued
       on this path, he presented no threat to the public and was not a risk to re-offend.
       See 18 U.S.C. § 3553(a)(2)(B) & (C). Defendant’s efforts to cooperate with the
       government were also suggestive of a change in direction. In some cases,
       cooperation has an almost mercenary quality, but in defendant’s case it
       appeared to represent a desire to break from his old ways. Defendant obviously
       had treatment needs, but he was dealing with those issues in the community,
       and I concluded that both defendant and the public were best served by
       permitting him to continue those efforts. See 18 U.S.C. § 3553(a)(2)(D).

       Under all of the circumstances, I found a sentence of 5 years probation with a
       condition of six months home confinement sufficient but not greater than
       necessary. This sentence provided a sufficient measure of punishment, structure
       and monitoring, while also taking into account the role of addiction in defendant’s
       conduct, his limited involvement and lack of financial gain, and his significant
       post-offense efforts to rehabilitate himself.

       Therefore, I placed defendant on probation for five years. This sentence allowed
       me to maintain a great degree of control over defendant to ensure that he stayed
       on the right path. See Gall v. United States, 128 S. Ct. 586, 595 (2007)
       (“Offenders on probation are nonetheless subject to several standard conditions
       that substantially restrict their liberty.”). Further, as I warned defendant at

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       sentencing, any violations could lead to revocation and a sentence of up to 30
       years. See 18 U.S.C. § 3565(a)(2) (stating that upon revocation of probation the
       court may re-sentence the defendant under § 3553). This sentence varied
       somewhat from the guidelines after the departure, but because it was well-
       supported by the § 3553(a) factors it created no unwarranted disparity. See 18
       U.S.C. § 3553(a)(6); see also Gall, 128 S. Ct. at 602 (upholding sentence of
       probation for drug offender who turned his life around). As conditions of
       probation, I ordered defendant to serve six months of home confinement,
       participate in a program of testing and treatment for substance abuse, and repay
       the buy money expended in the case.

Id. at *4 (footnote omitted).

                                        II. DISCUSSION

A.     Early Termination Standard

       Under 18 U.S.C. § 3564(c),

       The court, after considering the factors set forth in section 3553(a) to the extent
       that they are applicable, may, pursuant to the provisions of the Federal Rules of
       Criminal Procedure relating to the modification of probation, terminate a term of
       probation previously ordered and discharge the defendant at any time in the case
       of a misdemeanor or an infraction or at any time after the expiration of one year
       of probation in the case of a felony, if it is satisfied that such action is warranted
       by the conduct of the defendant and the interest of justice.

       Courts have held that in order to justify early termination the conduct of the defendant

must include more than simply following the rules of supervision. Otherwise, every defendant

who avoided revocation would be eligible for early termination. Instead, termination is generally

granted only in cases with a new or unforeseen circumstance, such as where the defendant’s

conditions unreasonably impede his rehabilitation or where his behavior has been exceptionally

good. See, e.g., United States v. Caruso, 241 F. Supp. 2d 466, 468-69 (D.N.J. 2003); see also

United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997); United States v. Medina, 17 F. Supp.

2d 245, 246-47 (S.D.N.Y. 1998).




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B.    Analysis

      In his letter-request, defendant indicates that he has since his arrest in this case led an

exemplary life, free of crime and drug usage. He indicates that while he was laid off from his

machine operator job about one year ago, he is working with his probation officer and an

employment service to find a new job. He believes his job search would go better without the

onus of federal supervision, including drug screens.

      I cannot conclude that termination would at this point be in the interest of justice. First,

while defendant is to be commended for his continued good conduct, he has not demonstrated

that his behavior or performance have been exceptionally good. Nor has he shown that his

conditions have unreasonably impeded his job search or any other rehabilitative goal. Second,

given defendant’s serious prior record and long history of substance abuse, a longer period of

supervision is needed to protect the public and deter defendant from committing new offenses.

See 18 U.S.C. § 3553(a)(2)(B) & (C). Additional supervision is also needed to ensure that

defendant’s treatment needs are addressed and that he finds and maintains legitimate

employment. See 18 U.S.C. § 3553(a)(2)(D).

                                      III. CONCLUSION

      THEREFORE, IT IS ORDERED that defendant’s request (R. 292) is DENIED.

      Dated at Milwaukee, Wisconsin, this 26th day of July, 2010.

                                          /s Lynn Adelman
                                          ______________________________
                                          LYNN ADELMAN
                                          District Judge




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